                        UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF NORTH CAROLINA

                                            )
 GUILFORD COLLEGE, et al.                   )
                                            )
               Plaintiffs,                  )
                                            )
 v.                                         )        Civil Action No. 1:18-cv-0891
                                            )
 CHAD F. WOLF, in his                       )
 official capacity as Acting Secretary      )
 of Homeland Security, et al.,              )
                                            )
               Defendants.                  )
                                            )

                                     NOTICE OF APPEAL

       Notice is hereby given that Defendants Acting Secretary of Homeland Security Chad F.

Wolf, et al., in the above-captioned case, appeal to the United States Court of Appeals for the

Fourth Circuit from the Orders and Judgment entered on February 6, 2020, by the Honorable

United States District Judge Loretta C. Biggs granting Plaintiffs’ motion for summary judgment

and denying Defendants’ motion for summary judgment. ECF Nos. 69, 70. The judgment of

February 6, 2020, ECF No. 70, is an appealable final decision of a district court under 28 U.S.C.

§ 1291.

       .

Dated: April 3, 2020                      Respectfully submitted,

                                          JOSEPH H. HUNT
                                          Assistant Attorney General
                                          WILLIAM C. PEACHEY
                                          Director
                                          GLENN M. GIRDHARRY
                                          Assistant Director




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                         By: /s/ Joshua S. Press
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2020, I electronically filed the foregoing NOTICE OF

APPEAL with the Clerk of the Court by using the CM/ECF system, which will provide

electronic notice and an electronic link to this document to all attorneys of record.


DATED: April 3, 2020

                                  By: /s/ Joshua S. Press
                                      JOSHUA S. PRESS
                                      Trial Attorney
                                      United States Department of Justice
                                      Civil Division




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